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             Exhibit F
        Case 1:22-cv-01267-BAH Document 8-8 Filed 05/13/22 Page 2 of 2




From:             X U E H N F. R U O Q I F W m O i l U S A F H A F H Q A F F S A / C C

Cc:               HYFR.    TlMOTHy      I   Col   IISAF    HAP    HO     AFFSA/CD:        AITEMEIER.          C H AT )   D    GS-14          USAF    HO   HQ   AFFSA/XM:

                  aCKFRMAN       THTIMAS      1   Mai     USAF    HAF     HQ        AFFSA.O(M:   S T O ^ F.    SCOTT         II   t   rnll    ISAF   HAF   HO   AFFSA/XO:   1AMES.

                  H A R RY 3 L t C o l U S A F H A F H O A F F S A / X A : R O B E RT S . l A M F S B G S - I S U S A F H A F H O A F F S A / X R : H O F F M A N .
                  DUSHN     H   MSot    USAF      HAF     HO   A F F S A fl C A T

Subject           R E : H O T ! ! C O V t O S E PA R AT I O N G U I D A N C E
D a t e :         Friday, Octrtier 29, 2021 10:02:39 AM



All,
We have received a few questions on this.
Here is my advice., if you are dead set against getting this vaccine then this is your time to apply for a
free and clear separation.


Col Kuehne



From: KUEHNE, RUDOLF W JR Col USAF HAF HQ AFFSA/CC
Sent: Tuesday, October 26, 2021 12:46 PM
Cc: HYER, TIMOTHY L Col USAF HAF HQ AFFSA/CD <timothy.hyer@us.af.mil>; ALTEMEIER, CHAD D
GS-14 USAF HQ HQ AFFSA/XM <chad.altemeier@us.af.mil>; ACKERMAN, THOMAS J Maj USAF HAF
HQ AFFSA/XM <thomas.ackerman.l@us.af.mil>; STQNE, SCOTT J Lt Col USAF HAF HQ AFFSA/XO
<scott.slone.l@us.af.mil>; JAMES, HARRY J Lt Col USAF HAF HQ AFFSA/XA <harry.james@us.af.mil>;
ROBERTS, JAMES B GS-15 USAF HAF HQ AFFSA/XR <james.roberts.35(S)us.af.mj|>
Subject: FW: HOT! I COVID SEPARATION GUIDANCE


All.
Attached is new guidance on separations for those seeking COVID-19 Vaccine exemptions.


Thanks,
Col Kuehne
